                          Exhibit E

            Market America Job Posting




Case 1:18-cv-01046-WO-JLW Document 36-5 Filed 06/04/21 Page 1 of 8
11/2/2018                                            Senior Training Specialist - Careers At Market America Inc


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Senior Training Specialist
Location:      Greensboro, NC



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Job Description




Market America, a product brokerage and Internet marketing company that specializes in One-to-One Marketing, is seeking an
experienced Senior Training Specialist to work in our Trainng department.

Position Summary: The Sr. Training Specialist is responsible for facilitating technical (job-specific) skills and soft (interpersonal/people)
skills, to new hires and existing employees and creating instructional design and development.

Essential Duties and Responsibilities:

        Serves as liaison with departments to remain current on technical processes, products, services and procedures
        Reviews existing training materials to ensure materials are up-to-date
        Conducts training needs analyses, as needed
        Monitors and manages classroom space database for effective classroom scheduling and usage
        Demonstrates the use of adult learning theories and presentation skills
        Researches and remains updated on industry training and development standards
        Creates new course content
        Designs presentations and creating job aids for products and processes
        Organizes and manages on-line documentation (shared drives) to ensure easy access to training materials
        Monitors departmental equipment and training supplies to ensure adequate inventory and orders inventory, as needed
        Tracks training attendance rosters and stores in appropriate files
        Collaborates and partners with the Training Team on technical and soft skills trainings, projects and teambuilding efforts
        Collaborates with Human Resources Team to ensure strong partnerships are built and maintained
        Collaborates with business partners across the organization
        Attends product and procedure walk-throughs, as needed
        Complies with company policies and procedures
        Performs other duties, as needed



Supervisory Responsibilities:

        None, but will train others




Required Skills and Education:


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                   Case 1:18-cv-01046-WO-JLW Document 36-5 Filed 06/04/21 Page 2 of 8
11/2/2018                                              Senior Training Specialist - Careers At Market America Inc

        Bachelor’s degree in Education, Training, Communications, Organizational Development or related field
        Fluent and proficient in oral and written communication skills and ability to demonstrate proficiency
        2 – 3 years of experience in training and instructional design experience in a call center and/or corporate environment
        Strong working knowledge of adult learning theories and ability to apply and execute facilitation techniques
        Ability to demonstrate proficiency in the use of MS Office Suite, i.e., Word, PowerPoint, Excel, Outlook, Intranet, and Office
        Equipment
        Ability to travel, as needed




Preferred Skills:

        3 - 5 years of experience in training and instructional design and development in a call center environment and/or corporate
        environment
        Training certifications, a plus, e.g., CPLP (Certified Professional in Learning and Performance), and, DiSC Profile, or other discipline
        certifications
        eLearning and intranet design experience is a plus
        Ability to influence without direct authority
        Experience in facilitating curriculum to managers and executive-level leaders
        Knowledge of instructional evaluation models and the ability to execute evaluation processes
        Bi-lingual is a plus (English, Spanish, Chinese/Mandarin, etc.)




Working Conditions and Environment:

        Intermittently lift and carry up to 20 pounds (training materials)
        Continuously see, sit, balance, grasp, and have repetitive use of arms, wrists, hands and fingers
        Intermittently stand, stoop, bend, twist, crouch, kneel, walk, squeeze and reach above shoulders
        Constant use of computer and/or mobile devices
        Exposure to electrical equipment, low to medium noise levels and mild temperatures of hot and cold
        Early mornings and/or late evenings, as needed

ABOUT MARKET AMERICA, INC. & SHOP.COM


Market America, Inc. is a product brokerage and Internet marketing company that specializes in One-to-One Marketing. Its mission is to
provide a robust business system for entrepreneurs, while providing consumers a better way to shop. Headquartered in Greensboro, NC,
the company was founded in 1992 by President and CEO JR Ridinger and has generated over $7.3 billion in accumulated sales. Market
America employs over 800 people globally with operations in the United States, Canada, Taiwan, Hong Kong, Australia, Singapore, United
Kingdom, Spain, and Mexico. Through the company’s shopping website, SHOP.COM, consumers have access to over 50 million products,
including Market America exclusive brands and thousands of top retail brands. By combining Market America’s entrepreneurial business
model with SHOP.COM’s powerful comparative shopping engine, Cashback program, Hot Deals, ShopBuddy®, social shopping integration
and countless other features, the company has become the ultimate online shopping destination.

More information is available at MarketAmerica.com (http://www.marketamerica.com).


SHOP.COM is a comparison shopping site designed to meet the shopping needs of the consumer and the business needs of merchants.
Leveraging the features of our patented OneCart®, along with extensive partner marketplace integration, a robust Cashback program, and
thousands of pages of unique shopping-centric editorial, SHOP.COM helps customers "Shop Smart, Save Big" across thousands of online
stores. SHOP.COM also powers ShopCompanion® and The Shopping Vine® (http://theshoppingvine.com), a shopping blog network. For
more information, please visit SHOP.COM (http://www.SHOP.com




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                    Case 1:18-cv-01046-WO-JLW Document 36-5 Filed 06/04/21 Page 3 of 8
11/2/2018                                           Senior Training Specialist - Careers At Market America Inc


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                  Case 1:18-cv-01046-WO-JLW Document 36-5 Filed 06/04/21 Page 4 of 8
11/2/2018                                                 Training Specialist - Careers At Market America Inc


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Training Specialist
Location:      Greensboro, NC



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Job Description

Market America, a product brokerage and Internet marketing company that specializes in One-to-One Marketing, is seeking an experienced
Training Specialist to work in our Training Department.

Position Summary: The Training Specialist is responsible for facilitating technical (job-specific) skills and soft (interpersonal/people) skills,
to new hires and existing employees, participating in the creation of new course content, assisting with instructional design and
development, designing presentations and assisting with the creation of job aids for products and processes.




Essential Duties and Responsibilities:

        Serves as liaison with departments to remain current on technical processes, products, services and procedures
        Reviews existing training materials to ensure materials are up-to-date
        Monitors classroom space database for effective classroom scheduling and usage
        Demonstrates the use of adult learning theories and presentation skills
        Assists with researching industry training and development standards
        Facilitates technical (job-specific) skills and soft (interpersonal/people) skills to new hires and existing employees
        Organizes and manages on-line documentation (shared drives) to ensure easy access to training materials
        Monitors departmental equipment and training supplies to ensure adequate inventory
        Tracks training attendance rosters and stores in appropriate files
        Collaborates and partners with the Training Team on technical and soft skills trainings, projects and teambuilding efforts
        Collaborates with Human Resources Team to ensure strong partnerships are built and maintained
        Attends product and procedure walk-throughs, as needed
        Complies with company policies and procedures
        Performs other duties, as needed




Supervisory Responsibilities:

        None, but will train others



Required Skills and Education:

        Bachelor’s degree in Education, Training, Communications, or related field
        Fluent and proficient in oral and written communication skills and ability to demonstrate proficiency

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                   Case 1:18-cv-01046-WO-JLW Document 36-5 Filed 06/04/21 Page 5 of 8
11/2/2018                                               Training Specialist - Careers At Market America Inc

        2 – 3 years of experience in training and instructional design experience in a call center and/or corporate environment
        Strong working knowledge of adult learning theories and ability to apply and execute facilitation techniques
        Ability to demonstrate proficiency in the use of MS Office Suite, i.e., Word, PowerPoint, Excel, Outlook, Intranet, and Office
        Equipment
        Ability to travel, as needed
        Bi-lingual is a plus (English, Spanish, Chinese/Mandarin, etc.)
        Experience in facilitation of curriculum to Supervisor-level and below
        Knowledge of facilitation evaluation models




Working Conditions and Environment:

        Intermittently lift and carry up to 20 pounds (training materials)
        Continuously see, sit, balance, grasp, and have repetitive use of arms, wrists, hands and fingers
        Intermittently stand, stoop, bend, twist, crouch, kneel, walk, squeeze and reach above shoulders
        Constant use of computer and/or mobile devices
        Exposure to electrical equipment, low to medium noise levels and mild temperatures of hot and cold
        Early mornings and/or late evenings, as needed
        Market America is a equal opportunity employer.

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        (http://theshoppingvine.com), a shopping blog network. For more information, please visit SHOP.COM (http://www.SHOP.com




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                   Case 1:18-cv-01046-WO-JLW Document 36-5 Filed 06/04/21 Page 6 of 8
Case 1:18-cv-01046-WO-JLW Document 36-5 Filed 06/04/21 Page 7 of 8
Case 1:18-cv-01046-WO-JLW Document 36-5 Filed 06/04/21 Page 8 of 8
